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           IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW JERSEY
  ___________________________________
                                       )
  IN RE: JOHNSON & JOHNSON             )
  TALCUM POWDER PRODUCTS               )
  MARKETING, SALES PRACTICES AND )         MDL Docket No. 2738
  PRODUCTS LIABILITY LITIGATION        )
  ___________________________________ )    Return Date: July 22, 2019
                                       )
  This Document Relates To All Cases   )
  ___________________________________ )

      NOTICE OF DEFENDANTS’ OMNIBUS MOTION TO EXCLUDE THE
      OPINIONS OF PLAINTIFFS’ EXPERTS FOR GENERAL CAUSATION
                         DAUBERT HEARING

         PLEASE TAKE NOTICE that defendants Johnson & Johnson and

  Johnson & Johnson Consumer Inc. (collectively, “defendants”) will respectfully

  move the Court on July 22, 2019, or as soon thereafter as counsel may be heard,

  for an Order to exclude the opinions of plaintiffs’ 22 experts.

         PLEASE TAKE FURTHER NOTICE that this motion is supported by

  seven briefs, described below, which are organized by topic and methodology, and

  collectively address the opinions of all of plaintiffs’ experts.1

         1.    Memorandum Of Law In Support Of Motion To Exclude

  Plaintiffs’ Experts’ General Causation Opinions. This memorandum addresses


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        Appendix A contains a table that cross-references which memoranda apply
  to which experts.
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  the opinions of 11 of plaintiffs’ experts, all of whom opine – contrary to the

  scientific consensus – that perineal talcum powder use can cause ovarian cancer.

  The focus of this memorandum is on plaintiffs’ experts’ epidemiological opinions

  and the methodological flaws in their Bradford Hill analyses. Although the

  scientific community has studied the posited link between perineal talc use and

  ovarian cancer for half a century, no study has claimed to establish a causal

  relationship between the two (or that the body of evidence collectively has

  established such a relationship). At best, the association is weak or modest in

  some case-control studies and non-existent in the cohort studies. This

  inconsistency strongly suggests that the studies were affected by recall bias or

  confounding. In addition, no dose-response relationship has been demonstrated,

  and the other Bradford Hill considerations are not satisfied. For these and other

  reasons set forth in defendants’ memorandum, the Court should exclude these

  opinions as unreliable.

        2.     Memorandum Of Law In Support Of Motion To Exclude

  Plaintiffs’ Experts’ Opinions Related To Biological Plausibility. This

  memorandum addresses the opinions of 14 of plaintiffs’ experts, all of whom opine

  – again without a reliable scientific basis – that: (1) talc can travel or be

  transported from the external perineum to the fallopian tubes or ovaries; (2) talc


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  causes chronic inflammation in the ovaries; and (3) such inflammation causes

  ovarian cancer. In reaching these opinions, plaintiffs’ experts ignore existing

  knowledge regarding the etiology of the various subtypes of ovarian cancer and

  unreliably equate unsubstantiated hypotheses with scientific evidence. Indeed, the

  very sources that plaintiffs’ counsel and their experts trumpet as critical support for

  these opinions make clear that plaintiffs’ experts’ theories are still merely

  hypotheses. For these and other reasons set forth in defendants’ memorandum, the

  Court should exclude plaintiffs’ experts’ biological plausibility opinions as

  unreliable.

        3.      Memorandum Of Law In Support Of Motion To Exclude Expert

  Opinions Of Ghassan Saed. This memorandum addresses the opinions of Dr.

  Ghassan Saed, an associate professor at Wayne State University. Plaintiffs’

  counsel retained Dr. Saed in an attempt to paper over the glaring holes in their

  biological plausibility theories. Dr. Saed proposed to conduct experiments

  involving the application of talcum powder to various cell lines (none of which, he

  acknowledged, replicate normal, in vivo fallopian tube or ovarian epithelial cells).

  Although Dr. Saed had never studied the alleged effects of talc on cells previously,

  he expressed an “expect[ation]” before beginning his research that talc would

  produce cellular effects on the balance of pro- and anti-oxidants (the “redox


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  balance”), induce genetic mutations and cause neoplastic transformation in cells.

  Dr. Saed’s subsequent experiments were riddled with errors and nonsensical

  results; generated sloppy and unreliable lab notebooks that are rife with

  mathematical errors, white-out, changed dates and missing pages; and led to a

  manuscript that was rejected by a gynecologic oncology journal because its

  conclusions were not sufficiently supported before Dr. Saed ultimately published a

  very similar draft in a reproductive health journal. The published manuscript does

  not address the most serious criticisms of the original journal and falsely claims

  that Dr. Saed received no compensation for writing the manuscript (when he

  testified that he was paid by plaintiffs’ counsel). Moreover, even if Dr. Saed’s

  work were not subpar and unreliable, his claimed findings still would not establish

  that it is biologically plausible that talc causes ovarian cancer in living humans.

  Indeed, he himself admitted that further animal studies would be necessary. For

  these and other reasons set forth in defendants’ memorandum, the Court should

  exclude Dr. Saed’s experiments, manuscript and opinions as unreliable.

        4.     Memorandum Of Law In Support Of Motion To Exclude

  Plaintiffs’ Experts’ Asbestos-Related Opinions. This memorandum addresses

  the opinions of several of plaintiffs’ experts that Johnson’s Baby Powder and

  Shower to Shower (the “Products”) ostensibly contain (or at one time contained)


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  trace amounts of asbestos. The principal proponents of this theory are plaintiffs’

  experts Drs. William Longo and Mark Rigler, who use an unscientific

  methodology developed for litigation purposes, disregarding well established

  distinctions between amphibole minerals generally and the rare subspecies of such

  minerals that actually constitute asbestos. The brief further explains that even if

  talc did contain low levels of asbestos as claimed by Drs. Longo and Rigler, there

  is no reliable evidence that exposure to the purported levels of asbestos could cause

  ovarian cancer. Finally, the brief also addresses the opinions of plaintiffs’ experts

  Drs. Robert Cook and Mark Krekeler, whose selective reading of a subset of

  documents cherry-picked and synthesized for the experts by plaintiffs’ counsel

  leads them to conclude that mines from which defendants’ talc was sourced could

  have contained asbestos. These opinions suffer from the same failure to

  differentiate amphibole and asbestos, as well as a failure to confirm that the

  deposits allegedly contaminated by asbestos are the same as those that actually

  sourced talc used in the Products. For these and other reasons set forth in

  defendants’ memorandum, the Court should exclude plaintiffs’ experts’ asbestos-

  related opinions as unreliable.

        5.     Memorandum Of Law In Support Of Motion To Exclude

  Plaintiffs’ Experts’ Opinions Regarding Alleged Heavy Metals And


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  Fragrances In Johnson’s Baby Powder And Shower To Shower. This

  memorandum addresses the opinions of 19 plaintiffs’ experts that the Products may

  be contaminated with some unspecified amount of chromium, cobalt or nickel and

  that these metals, “fibrous” talc or the Products’ fragrance ingredients could cause

  ovarian cancer. There are no scientific articles that even suggest that any one of

  these things has been linked to any form of ovarian cancer, but nearly every one of

  plaintiffs’ experts claims that some or all of them might cause ovarian cancer,

  resting on patently speculative extrapolations from animal studies and other data

  exploring links between these exposures and various other illnesses. For the

  reasons set forth in defendants’ memorandum, the Court should exclude these

  opinions as unreliable.

        6.     Memorandum Of Law In Support Of Motion To Exclude Expert

  Opinions Unrelated To General Causation. This memorandum addresses the

  opinions of four of plaintiffs’ experts whose reports are largely or entirely

  irrelevant to the general causation question that is currently before the Court. Dr.

  Alan Campion seeks to opine that Raman spectroscopy is a reliable technique for

  identifying talc particles in human tissues, including ovarian tissues, an opinion he

  developed for litigation on the tab of plaintiffs’ counsel; Dr. April Zambelli-

  Weiner critiques two studies that do not form the basis of any expert’s opinions in


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  this litigation and speculates that the United States Food & Drug Administration

  (“FDA”) was unduly influenced by the authors of those studies; Drs. David Kessler

  and Laura M. Plunkett both seek to opine about various legal and regulatory

  matters, such as the requirements of the FDA and whether defendants complied

  with them; and Dr. Plunkett also seeks to opine on the reasonableness of

  defendants’ conduct and defendants’ purported influence on governmental bodies.

  These opinions should be excluded because they are irrelevant to general causation

  and otherwise unreliable and/or inadmissible.

        7.       Memorandum Of Law In Support Of Conditional Motion To

  Exclude Certain Plaintiffs’ Experts’ Opinions For Lack Of Qualifications.

  This memorandum addresses the opinions of 14 experts, conditionally seeking

  their exclusion if the Court accepts any of plaintiffs’ arguments with respect to

  expert qualifications. As set forth in the memorandum, many of plaintiffs’ experts

  seek to offer opinions on a wide range of subjects that fall outside the scope of

  their particular areas of expertise; indeed, several admitted as much at their

  depositions.

        As noted above, Appendix A is a table that cross-references which experts’

  opinions are addressed in each memorandum.




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                                     CONCLUSION

        For the reasons set forth above and in the seven memoranda submitted

  herewith, the Court should exclude: (1) plaintiffs’ experts’ general causation

  opinions; (2) plaintiffs’ experts’ opinions related to biological plausibility; (3) the

  expert opinions of Ghassan Saed; (4) plaintiffs’ experts’ asbestos-related opinions;

  (5) plaintiffs’ experts’ opinions regarding alleged heavy metals, fragrances and

  fibrous talc in Johnson’s Baby Powder and Shower to Shower; and (6) expert

  opinions unrelated to general causation. In addition, if the Court is inclined to

  construe qualifications standards in the manner plaintiffs apparently intend to

  argue in their briefing, it should exclude any and all opinions that arguably exceed

  plaintiffs’ experts’ qualifications.




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  Dated: May 7, 2019                  Respectfully submitted,

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